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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                 *
 DONALD J. TRUMP,                                *
                                                 *
                Defendant.                       *

             GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO
             STAY CASE PENDING RESOLUTION OF MOTION TO DISMISS
                      BASED ON PRESIDENTIAL IMMUNITY

       After careful consideration of the public interest and the parties’ proposals for a trial date

in this case—including the defendant’s initial attempt to postpone trial for almost three years—the

Court selected March 4, 2024, to begin trial. At every opportunity since, the defendant has tried

to delay and disrupt the Court’s reasonable schedule working toward that date. His newest delay

tactic is to move the Court to “stay all proceedings in this case until the issues raised” in his

presidential immunity dismissal motion, ECF No. 74, “are fully resolved.” ECF No. 128 at 1. The

defendant’s motion cites general caselaw regarding immunity claims in the appellate context but

provides no legal basis for the relief he seeks, which is effectively for the Court to immediately

surrender its authority to manage this case. The Court should deny the defendant’s motion for a

stay. In addition, the defendant’s stay motion exposes his intention to use his meritless immunity

claim to disrupt the Court’s schedule. Accordingly, to prevent undue delay and maintain the trial

date, the Court should consider and decide first among the motions pending on the docket the

defendant’s two claims that could be subject to interlocutory appeal: presidential immunity and

double jeopardy.
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I.     Background

       The defendant has an established record of attempting to disrupt and delay the Court’s

carefully considered trial date and pretrial schedule. Now, the defendant has timed his motion to

stay these proceedings for maximum disruptive effect.

       As an initial matter, the Court’s selection of a March 4, 2024, trial date in this case was

based on careful consideration of competing and compelling interests, including the Court’s duty

to “give the defense adequate time to prepare for trial and ensure the public’s interest in seeing this

case resolved in a timely manner.” ECF No. 38 at 55. In reaching that conclusion, the Court

rejected both the defendant’s and the Government’s proposed trial dates and emphasized that its

“primary concern here, as it is in every case, is the interest of justice, and that [it] balance[s] the

defendant’s right to adequately prepare with [its] responsibility to move this case along in the

normal order.” Id. at 4, 56. Indeed, the Court made that balancing explicit in its findings. Id. at

53. Subsequently, the Court entered a thorough pretrial scheduling order that set deadlines for

dispositive and evidentiary motions, discovery, voir dire, jury instructions, and other pretrial

matters, all directed at proceeding to trial on March 4 in a fair and orderly fashion. ECF No. 39.

       Since proposing April 2026 as the date for trial, the defendant has attempted to delay the

pretrial schedule and trial at every turn. See ECF No. 62 (seeking to disrupt and delay Classified

Information Procedures Act schedule); ECF No. 63 (requesting two-month extension of various

motions dates); ECF No. 103 at 20, 66 (at hearing, defense counsel suggesting the Court move

trial until after November 2024 so that the defendant could make prejudicial public statements

unabated); ECF No. 129 (seeking undefined extension for defendant’s motions to compel and

three-month extension for defendant’s early-return Rule 17(c) subpoena requests). In response,

the Court has had to remind the defendant that the trial date is not flexible, ECF No. 103 at 20-21



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(“trial will not yield to the election cycle and we’re not revisiting the trial date”), but has made

reasonable allowances of additional time for the defendant consistent with maintaining the trial

date in this case. See, e.g., ECF No. 82 at 4 (denying the full length of an extension sought by the

defense because important decisions “would [then] not be fully presented to the court until fewer

than three months before the scheduled trial date of March 4, 202[4]—the same three months in

which the parties may dispute motions in limine, voir dire questions, jury instructions, and other

pretrial matters”).

        The defendant’s motion to “stay all proceedings in this case” until the “issues” raised in

his presidential immunity motion are resolved is another delay tactic—and one long in the works.

The defendant has planned to file this motion for months but waited until now in hopes of grinding

pretrial matters to a halt closer to the trial date. As early as August 28, 2023, for instance, defense

counsel informed the Court that the defendant would raise “executive immunity . . . with the Court

likely this week or early next week, which is a very complex and sophisticated motion regarding

whether or not this court would even have jurisdiction over this case. . . .” ECF No. 38 at 33-34.

But the defendant did not file an immunity motion that week or the following. Instead, he waited

more than a month before filing the promised pleading on October 5. See ECF No. 74. The

defendant then waited another month to file the stay motion, late at night on November 1.

Tellingly, earlier that same day, when defense counsel appeared at a hearing in the defendant’s

criminal case in the Southern District of Florida, he used this Court’s March 4 trial date and pretrial

schedule as an excuse to try to delay that trial—without disclosing that, within hours, he would

file his stay motion here seeking to disrupt and delay the very deadlines in this case that he was

using as a pretense. See United States v. Trump, No. 23-80101, Hr’g. Tr. at 24 (S.D. Fla. Nov. 1,

2023). In short, the defendant’s actions make clear that his ultimate objective with the stay motion,



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as has consistently been the case in this and other matters, is to delay trial at all costs and for as

long as possible.

II.    Argument

       The defendant’s motion to stay provides no basis to support his claim that the Court, before

even rendering a decision on the defendant’s immunity motion, should suddenly halt all work in

this case simply because the defendant says that he is immune. That is because there is none. The

Court should deny the motion. Furthermore, now that the defendant has demonstrated his intention

to use his immunity claim to disrupt the Court’s administration of this case, the Court should

promptly resolve the defendant’s presidential immunity and double jeopardy motions 1 to minimize

future delays.

       A.        There is No Legal Basis for the Relief the Defendant Seeks, and the Court
                 Should Deny the Defendant’s Stay Motion

       In his motion asking the Court to “stay all proceedings in this case until the issues raised

in his [immunity motion] are fully resolved,” ECF No. 128 at 1, the defendant seeks relief for

which there is no basis in the law: for the Court to surrender its entire authority to administer this

case, based solely on the defendant’s claim of immunity and without having rendered a decision




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          Although the defendant has not yet raised the issue, the defendant’s double jeopardy
claim, ECF No. 113 at 18-24, may also be subject to interlocutory appeal and thus also risks
disrupting the Court’s schedule. For the reasons described in the Government’s concurrent filing
today, ECF No. 139 at 72-78, the claim is plainly frivolous, and the Court should deem it so in
writing. See, e.g., United States v. Dunbar, 611 F.2d 985, 988 (5th Cir. 1980) (en banc)
(“Henceforth, the district courts, in any denial of a double jeopardy motion, should make written
findings determining whether the motion is frivolous or nonfrivolous. If the claim is found to be
frivolous, the filing of a notice of appeal by the defendant shall not divest the district court of
jurisdiction over the case.”); United States v. Black, 759 F.2d 71, 73 (D.C. Cir. 1985)
(acknowledging that courts “must grant a stay unless appellant’s claim of violation of the double
jeopardy clause is ‘wholly lacking in merit.’”).

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on his immunity motion. No case supports such a result, which would fly in the face of the efficient

administration of justice.

        The defendant’s motion cites and quotes several civil cases regarding general legal

principles about the effect of immunity claims, ECF No. 128 at 1-2, but these cases do not have

anything to do with the defendant’s requested relief here. Instead, they stand for the principle that

while a non-frivolous question of immunity is pending on appeal—rather than pending a decision

in the district court, as the defendant’s claim is here—the party asserting immunity cannot be

forced to go to trial. See United States v. Brizendine, 659 F.2d 215, 219 (D.C. Cir. 1981) (while a

defendant pursues an appeal based on a non-frivolous claim of immunity from prosecution, he

should not be required “to endure the personal strain, public embarrassment, and expense of a

criminal trial”).

        The defendant cites cases to argue that questions of immunity should be resolved at the

earliest possible stage in litigation. See ECF No. 128 at 1. But the defendant’s dilatory actions

regarding his immunity and stay motions demonstrate that he is less interested in resolution of the

merits of his claims than in using them for delay. In any event, the Government agrees—although

the Court should reject the defendant’s stay motion and his request to halt all work, for the reasons

discussed below, the Court should promptly resolve both the defendant’s presidential immunity

claim and his double jeopardy claim.

        B.      The Court Should Promptly Consider and Decide the Defendant’s Meritless
                Immunity and Double Jeopardy Claims

        Although the defendant’s motion for a stay of the Court’s proceedings at this stage is

meritless and should be denied, it is a harbinger of the defendant’s plans to use any means,

including by manipulating the timing of any appeal, to derail these proceedings. The defendant

delayed filing his immunity and stay motions to maximize his chances of delaying this trial (and

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possibly trial in the Southern District of Florida, as well). Past practice, both in this case and in

the grand jury investigation that preceded it, see ECF No. 38 at 37-39, shows that he will

undoubtedly do the same in the event that the Court denies his immunity motion and that decision

is subject to interlocutory appeal. To limit such disruption, the Court should promptly resolve the

defendant’s immunity motion, as well as his double jeopardy claim that is also potentially subject

to interlocutory appeal, so that the Government can seek expedited consideration of any non-

frivolous appeal and preserve the Court’s carefully selected trial date.

        A denial of the defendant’s motions to dismiss the indictment based on presidential

immunity and double jeopardy may be subject to interlocutory appeal. See Mitchell v. Forsyth,

472 U.S. 511, 525 (1985) (“When a district court has denied a defendant’s claim of right not to

stand trial . . . we have consistently held the court’s decision appealable, for such a right cannot be

effectively vindicated after the trial has occurred.”). While any such non-frivolous appeal is

pending, the defendant cannot be required to go to trial. Chuman v. Wright, 960 F.2d 104, 105

(9th Cir. 1992) (“a proper appeal from a denial of qualified immunity automatically divests the

district court of jurisdiction to require the appealing defendant to appear for trial”); Abney v. United

States, 431 U.S. 651, 662 (1977) (in double jeopardy context, defendant cannot be taken to trial

pending a non-frivolous appeal because otherwise, double jeopardy “protections would be lost if

the accused were forced to ‘run the gauntlet’ [of trial] a second time before an appeal could be

taken”).

        To prevent the defendant from using the timing of any such appeal to disrupt the Court’s

trial date, the Court should promptly consider and decide his immunity and double jeopardy

motions. If the Court rules in the Government’s favor and the defendant appeals, the Government

will take all possible measures to expedite the appeal, see Apostol v. Gallion, 870 F.2d 1335, 1339-



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40 (7th Cir. 1989) (identifying mechanisms such as requesting summary affirmance or asking to

expedite the appeal), just as the defendant sought to expedite his appeal of the Court’s Rule 57.7

Order—relief that the court of appeals provided. See United States v. Trump, No. 23-3190, Order

(D.C. Cir. Nov. 3, 2023) (expediting merits briefing and oral argument). In any event, although a

non-frivolous appeal would temporarily divest this Court of jurisdiction, it would do so over only

“those aspects of the case involved in the appeal.” Griggs v. Provident Consumer Discount Co.,

459 U.S. 56, 58 (1982) (per curiam). In sum, the Court’s prompt resolution of the defendant’s

immunity and double jeopardy claims would best position this case to stay on track with its current

pretrial schedule and trial date.

III.    Conclusion

        The Court should deny the defendant’s motion to stay. Separately, the Court should

promptly consider and decide the defendant’s immunity motion and double jeopardy claim.



                                                     Respectfully submitted,

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